        Case 1:19-cv-09236-KPF Document 453-4 Filed 09/19/23 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




                                                                Case No:
IN RE TETHER AND BITFINEX CRYPTO ASSET
LITIGATION                                                      19 Civ. 9236 (KPF)




                 [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE

       The Motion of William J. Kraus for admission to practice Pro Hac Vice in the above-

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bars of the State of

Michigan and the State of Illinois, and that his contact information is as follows:

                    William J. Kraus
                    FisherBroyles LLP
                    Office: 400 Renaissance Center, Suite 2600
                    Detroit, MI 48243
                    Mailing Address: 455 East Eisenhower Parkway, Suite 300 PMB1082
                    Ann Arbor, MI 48108
                    william.kraus@fisherbroyles.com
                    Tel: (773) 326-9789

       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Defendants Tether Holdings Limited, Tether Operations Limited, Tether Limited, Tether

International Limited, DigFinex Inc., iFinex Inc., BFXNA Inc., BFXWW Inc., Ludovicus Jan van

der Velde, and Giancarlo Devasini in the above-captioned matter;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.
         Case 1:19-cv-09236-KPF Document 453-4 Filed 09/19/23 Page 2 of 2




Dated:
                                           Hon. Katherine Polk Failla
                                           United States District Judge
